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                                 UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MERCEDES BENZ USA LLC,                    2:19-CV-10949-AC-EAS
                                          Honorable Avern Cohn
           Plaintiff,                     District Court Judge

      v.                                  Honorable Elizabeth A. Stafford
                                          Magistrate Judge
JEFF SOTO AND MAXX GRAMAJO,
                                              DEFENDANTS’ REPLY IN
           Defendants.
                                              SUPPORT OF MOTION TO
                                                   DISMISS UNDER
                                                 FRCP 12(b)(1) and (6)




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       Nothing in MBZ’s Opposition alters the Artists’ analysis.

  I.     MBZ HAS NOT MADE A PRIMA FACIE SHOWING THAT THE
         ARTISTS ARE SUBJECT TO PERSONAL JURISDICTION

       According to MBZ, the Artists are subject to personal jurisdiction because

they travelled to this district to paint the Mural. [Opp. at 3.] This argument reflects

a fundamental misunderstanding of how minimum contacts are assessed in

declaratory relief actions. Such claims generally arise out of some threat by the

defendant to sue the plaintiff. In evaluating minimum contacts, courts look to

where such threats were sent, received and felt—and not to facts related to the

underlying controversy. In intellectual property actions, this means that courts look

to enforcement activities to determine personal jurisdiction—and certainly not to

the location of the work in question or where it was created/exploited.

A.     In declaratory relief actions, the specific jurisdiction analysis focuses
       exclusively on the defendant’s enforcement activities

       The parties agree that the familiar minimum contacts analysis applies in

declaratory relief actions. What MBZ fails to acknowledge is that in intellectual

property cases, the test is whether the defendant purposefully directed his

enforcement activities to the forum. See Dudnikov v. Chalk & Vermilion Fine Arts,

Inc., 514 F.3d 1063, 1077-78 (10th Cir. 2008). In Dudnikov, the defendant

copyright holder was subject to personal jurisdiction in Colorado because it sent



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infringement notices to eBay, knowing this would halt the infringer’s auction

originating there. The court’s rigorous discussion of personal jurisdiction was

confined to the defendant’s enforcement activities, and did not consider where the

works were created, kept, or exploited. Id at 1082.

      The Federal Circuit (affirming a Tennessee district court) explicitly made

this same point—that courts look only to intellectual property enforcement

activities in evaluating minimum contacts—in the patent context:

   A declaratory judgment claim arises out of the patentee’s contacts with the
   forum state only if those contacts relate in some material way to the
   enforcement or the defense of the patent. Accordingly, in this context the
   minimum contacts prong requires some enforcement activity in the forum state
   by the patentee. [Maxchief Invs. Ltd. v. Wok & Pan, Ind., Inc. 909 F.3d 1134,
   1138 (Fed.Cir. 2018) (citing Avocent Huntsville Corp. v. Aten Int’l Co., 552
   F.3d 1324, 1336 (Fed. Cir. 2008)).]

The trial court made the same holding, also relying on the seminal Avocent case.

Maxchief Invs., Ltd. v. Wok & Pan, Ind., Inc., 2017 WL 6601921, at *5 (E.D.

Tenn. Sept. 29, 2017), aff'd, 909 F.3d 1134 (Fed. Cir. 2018). Another district court

in this circuit explained that an action seeking a declaration of non-infringement:

   [N]either directly arises out of nor relates to the . . . offering to sell . . . of
   arguably infringing products in the forum. Because the claim arises not from
   commercialization but from the activities of the defendant in enforcing the
   relevant patent suit, the relevant inquiry becomes the extent to which a
   defendant purposefully directed enforcement activities at residents of the
   forum. [Power Sys. v. Hygenic Corp., 2014 WL 2865811, at *6 (E.D. Tenn.
   June 24, 2014) (internal quotations and citations omitted).]

See also, Want2Scrap, LLC v. Larsen, 2018 WL 1762853, at *8 (N.D. Ind. Apr. 9,



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2018) (“The contacts relevant to personal jurisdiction for a claim of declaratory

judgment of [copyright] non-infringement are based on the defendant’s conduct

that gives rise to the plaintiff’s claim, specifically the defendant’s enforcement

activity, not its business activity.”); Marlin Firearms, Co. v. Wild West Guns, LLC,

2013 WL 2405510, at *4-5 (D. Conn. May 31, 2013) (same, trademark); Rolling

Thunder, LLC v. Indian Motorcycle Int’l, 2007 WL 2327590, at *3 (D. Utah Aug.

10, 2007) (same, trademark).

B.    There is simply no support for the idea—which MBZ characterizes as
      self-evident—that facts relating to the underlying work or its
      exploitation are relevant to personal jurisdiction.

      MBZ argues that the Artists have an obvious connection to Michigan: they

painted the Mural here. [Opp. at 3.] Even if this were a fleeting contact, it is a

sufficient basis for personal jurisdiction, MBZ argues, because this action centers

around the Mural. [Id. at 6.] In this regard, MBZ argues that even a tenuous

connection is sufficient under the extremely “lenient” applicable test. [Id. at 9.] But

the cases MBZ relies on for this point (found on pages 6 and 7 of the Opposition)

are mostly straightforward infringement cases—not declaratory relief actions. And

the few declaratory relief cases are cited for uncontroversial generalities.

      In this way, MBZ simply ignores what kinds of forum contacts are relevant

to the personal jurisdiction inquiry in the declaratory relief context. Indeed, the

other side of the coin of the doctrine discussed above—that courts assess minimum



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contacts in declaratory relief actions only with regard to enforcement activities—is

that commercial acts (such as exploitation of intellectual property) within the

forum are immaterial.

      A declaratory judgment claim for non-infringement “neither directly arises

out of nor relates to the making, using, offering to sell, selling, or importing

arguably infringing products in the forum, but instead arises out of or relates to the

activities of the defendant patentee in enforcing the patent or patents in suit.”

United Bully Kennel Club v. Am. Bully Kennel Club, 2011 WL 13228570, at *10

(S.D. Fla. 2011);1 Am. Intercontinental Univ., Inc. v. Am. Univ., 2017 WL

3478805, at *1 (N.D. Ill. Aug. 14, 2017). “Simply put, where defendant sells the

copyrighted product is not relevant to the existence of plaintiff’s declaratory

judgment cause of action on copyright infringement, nor to the question of whether

the court has specific, personal jurisdiction over the defendant.” Coastal Video

Communications, Corp. v. Staywell Corp., 59 F. Supp. 2d 562 (E.D. Va. 1999). See

also, GSI Lumonics, Inc. v. Biodiscovery, Inc., 112 F.Supp.2d 99, 107 (D. Mass.

2000) (declaratory claim “for non-infringement of a copyright or a patent cannot,




1
  United Bully, an action seeking a declaration of non-infringement of copyright,
borrowed freely from patent cases because “the due process considerations of a
declaratory judgment for trademark infringement or copyright infringement are
similar to the due process considerations of a declaratory judgment for patent
infringement.” 2011 WL 13228570 at *9.


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without more, be said to ‘arise out of’ the commercial distribution of the patented

or copyrighted articles within a state.”)

      MBZ also argues that Michigan courts have a special interest in adjudicating

this controversy because the Mural is a “permanent fixture” of Detroit. [Opp. at 7,

11.] But of course, the Mural could be whitewashed any time, without affecting the

copyright. Indeed, because a copyright is an intangible, incorporeal right, it has no

situs apart from the domicile of the proprietor. 3 Nimmer on Copyright § 12.01

(2019); Pablo Star Ltd. v. Welsh Gov’t, 170 F. Supp. 3d 597, 607 (S.D.N.Y. 2016).

      1.     MBZ’s marquee Duncanson case offers it no support.

      As discussed above, MBZ cites a number of cases for general principles

regarding personal jurisdiction. It also offers one case for its specific thesis that

travelling to a state to paint an artwork is enough to subject the artist to personal

jurisdiction in a case related to that artwork. [Opp. at pp. 8-9, citing Duncanson v.

Wine & Canvas Dev., LLC, 2015 WL 12838359 *2 (M.D. Fla. June 24, 2015).]

MBZ fails to mention that Duncanson is not a district court opinion, but rather a

magistrate’s recommendation. Id. at *2. MBZ also mischaracterizes the facts in

Duncanson: the defendant it describes as “an Indiana-based artist [who] created a

painting in Florida,” was in fact the owner of an multi-state art school, who

travelled to Florida on numerous occasions to visit her company’s franchisees and

operate the business—including by teaching a class on how to paint the plaintiff’s



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artwork. Id., at *13, 14.

      More important, Duncanson is once again not a declaratory judgment case at

all, but rather merely a garden variety copyright infringement case. Id. at *6, 7.

Accordingly, it is hardly surprising that the magistrate focused on the defendant’s

commercial activities rather than her enforcement activities.

      2.     MBZ bases its jurisdictional analysis on a mischaracterization of
             the evidence.

      Even though facts relating to the Artists’ creation and commercial

exploitation of the Mural are immaterial, as explained above, it’s worth noting that

MBZ grossly mischaracterizes those facts. Citing to ¶ 2 of the Artists’ declarations,

MBZ asserts that the Artists “engaged in numerous sales of prints of two

paintings” while in Michigan. [Opp. at 8.] But the declarations say no such thing.

The Artists declare (at ¶ 5, which is probably what MBZ meant to cite) only that a

third party sold prints. [Gramajo Decl. ¶ 5; Soto Decl. ¶ 5.] The Artists say nothing

about selling prints themselves or participating in any way; and nothing about sales

taking place while they were in Michigan.

C.    MBZ has not met its burden to make a showing of personal jurisdiction.

      In response to the Artists’ 12(b)(2) motion to dismiss, MBZ failed to present

any facts about how the Artist’s copyright enforcement activities relate to

Michigan. Nor did MBZ make any such allegations in its Complaint. MBZ did not

request jurisdictional discovery. Accordingly, they make no prima facie showing.


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As a result, the Artists’ motion to dismiss should be granted.

    II.    MBZ FAILS TO ALLEGE A JUSTICIABLE CONTROVERSY

      MBZ argues that the “great weight of authority holds” that a declaratory

relief action for non-infringement is ripe for adjudication even prior to registration

of the copyright. But the one published case MBZ cites is not a non-infringement

action at all, but rather a dispute between co-authors. Further, each of MBZ’s three

unpublished district court cases reject a jurisdictional challenge to a pre-

registration declaratory relief action, which became untenable after Reed. But the

Artists do not challenge subject matter jurisdiction. Rather, as explained in their

motion to dismiss, they argue that MBZ has failed to state a claim for a declaratory

relief, for the simple reason that they do not face an imminent legal action. [Motion

at 14, 15.] Notably, MBZ avoids the leading case on this issue, in which the

Eleventh Circuit explains this distinction. Fastcase, Inc. v. Lawriter, LLC, 907

F.3d 1335, 1341 (11th Cir. 2018).

                III.   MBZ MISUNDERSTANDS SECTION 120

      The Artists move to dismiss MBZ’s third cause of action for a judicial

declaration that “the mural is exempt from protection under the Architectural

Works Copyright Protection Act, based upon the terms of 17 U.S.C. § 120(a).”

[Complaint ¶ 63.] The Artists argue that (1) MBZ failed to allege that the building

on which the Mural appears is an “architectural work,” and (2) even if the building



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was an architectural work, it does not follow that photographs of pictorial, graphic,

and sculptural (“PGS”) works appearing thereon are “exempt from protection.”

      MBZ’s response is disarmingly simple. It argues Section 120(a) allows

photography of buildings. Period. If this interpretation of Section 120(a) is correct,

it would hardly matter that MBZ failed to properly allege the existence of an

architectural work. And if such protection were as absolute as MBZ claims, the

inclusion of PGS works in the exemption would require no additional analysis.

      MBZ’s interpretation can make sense at first glance. Why would something

need to be copyrighted, in order to be exempt from copyright? But as explained

below, the exemption applies only to protected architectural works because the

public has always been, and remains, free to photograph all other buildings, which

are uncopyrightable useful objects. Without Section 120(a), the new species of

“architectural copyright” would make an infringer of anyone snapping pictures in

the vicinity of a new building. Section 120(a) merely preserves the right to

photograph post-1990 buildings despite their new copyright protection.

A.    The plain statutory language shows the Artists are correct that Section
      120(a) limits only the new species of architectural copyrights.

      MBZ suggests that the Artists avoid the plain language of the statute. But

that language states unequivocally that it applies only to copyrighted “architectural

works.” Section 120(a)reads, in pertinent part:

      The copyright in an architectural work that has been constructed

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      does not include the right to prevent the making… of photographs of
      the work…. (emphasis added).

      It's hard to imagine language that more clearly contradicts MBZ’s claim that

Section 120(a)was enacted to allow photography of all buildings. The statute says

only that a “copyright in an architectural work” shall be limited, in that such a

copyright cannot be used to prevent photography of that building. The statute says

nothing about non-copyrighted buildings, or non-architectural copyrights.

      No one has ever suggested that the propriety of photographing pre-1990

buildings, or useful objects in general, carried with it the right to reproduce graphic

or sculptural works that appear on buildings (or on other useful objects such as

clothes or furniture). Indeed, courts have developed a rigorous jurisprudence to

determine when a PGS work is separable from a useful object that it appears on or

in, and thus protected by copyright. See, e.g., Star Athletica, L.L.C. v. Varsity

Brands, Inc., 137 S. Ct. 1002 (2017). Nothing in the AWCPA suggests that it was

meant to alter this calculus, for either pre- or post-1990 buildings.

B.    The statutory scheme supports the Artists’ interpretation of Section
      120(a).

      Besides the plain language of Section 120(a), context shows that its sole

function is to limit copyrights in architectural works. For one thing, the title of

Section 120(a) is “Scope of exclusive rights in architectural works.” That Section

120(a) is part of the AWCPA also supports the idea that it limits only the new



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copyrights created thereunder. If Congress wished to allow photography of

buildings generally, it would not have done so as part of, and within, legislation

creating new copyrights for post-1990 original buildings.

C.    The Leicester case supports the Artists’ interpretation.

      Both sides appear to agree that Leicester is a key case. MBZ quotes

language on page 1219 of Leicester, that Section 120(a) “’allows the public the

right to photograph public buildings’ including any work that is ‘part of the

architectural work.’” [Opposition, p. 16.] But this quotation is not the holding of

the case. First, it is a cobbling together of various phrases on page 1219. Second, it

is a recitation of the defendant’s position—not that of the court. Indeed, although

MBZ neglected to include an ellipsis, the quoted sentence continues to also

describe the plaintiff’s contrary position: “… unless, as Leicester contends, the

1990 amendments specifically provide for the continued separate protection of

sculptural works attached to buildings.” Leicester, 232 F.3d at 1219.

      Even if these were the court’s words, MBZ glosses over the key phrase “part

of the architecture,” to which the court devoted considerable attention. As

explained below, quite a lot is required in order for a PGS work to be “part of”

architecture (such as that it be planned along with the building, match its look and

materials, and perform architectural functions).

      The true “holding” of Leicester supports the Artists. To explain, some



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discussion of Leicester’s confusing three-way split is required. The question that

divided the judges (and which arises here) was whether Section 120(a) allowed

reproduction and use of PGS work in or on a building. Judge Tashima’s

(concurring) view was similar to MBZ’s here: that Section 120(a)’s permission to

photograph a building trumped the copyright protections of PGS works embodied

therein. Leicester v. Warner Bros., 232 F.3d 1212, at 1222 (9th Cir. 2000). Judge

Fisher’s dissent offered a muscular argument for the contrary position (similar to

the Artists’ view here) that Section 120(a) limits only copyrights in architectural

works, and does not affect the copyright in PGS works that appear in a photograph

of a building. Id., at 1225-1236.

      Judge Rymer’s majority opinion obviously agreed with the concurrence in

its result (no infringement because Section 120(a) applied), but it agreed with the

dissent that a PGS work on a building was generally still protected. The majority

opinion found that that Section 120(a) applied only as a matter fact—because the

purported sculptural work was part and parcel of the architecture.2 There was no




2
  Given the extraordinary degree of integration of the plaintiff’s purported
“sculptural work” into the building’s architecture, Leicester shows just how rare it
will be that a purportedly independent work will be “part of” a building’s
architecture. This was no mere sculpture. Rather it was a courtyard, garden, public
space, and fountain—all contained by large walls that included decorative three-
story high towers. Many of the particulars of the “sculpture” were mandated by
architectural codes imposed by a development agency, and the work was planned

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separate PGS work according to Judge Rymer, just an architectural work with

sculptural elements—to which Section 120(a) would obviously apply. Under this

approach, Judge Rymer (like the dissent) would protect a PGS work that was not

simply “part of” the architecture. Judge Tashima wrote a concurrence precisely

because he disagreed with the majority (and dissent) on this point.3

      Leicester offers MBZ no get-out-of-jail-free card because no one would

suggest that the Artists’ Mural here is really just an aspect of the building’s

architecture. See Falkner v. Gen. Motors LLC, 2018 WL 5905820, at *5 (C.D. Cal.

Sept. 17, 2018) (“All three judges on the [Leicester] panel unambiguously agreed

that, for Section 120(a) to apply to a PGS work …, the PGS work must be ‘part of’

an architectural work.”) MBZ has not pled such integration, and its (accurate)

description and photographs of the Mural disclose that it could not be plausibly

pled. Accordingly, if MBZ wants to argue that it did not infringe because

advertisers need the right to photograph urban streetscapes, it will have to rely on

the fair use doctrine, which has long served this purpose.




and built along with the building, matching its look and materials. Leicester, 232
F.3d at 1214, 1219.
3
  Further, not only was Judge Tashima alone in his reasoning, he stopped well short
of endorsing the absolutist proposition that MBZ attributes to him (and
inexplicably to the case itself). He did this by qualifying his argument as applying
“at least” where the PGS work is a “functionally part of the architectural work.” Id.
at 1222 (emphasis added).


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D.    The legislative history supports the Artists’ interpretation.

      As described in the Artists’ Motion, the legislative history of the AWCPA

explains that it was enacted to do no more than required to comply with U.S.

obligations in joining Berne, which mandated protection for architecture. Berne did

not require absolute freedom to photograph buildings—and in fact Congress had to

carefully study whether limiting architectural copyrights to allow photography was

consistent with the required protections. See House Report 101-735, p 22.

      MBZ cites to portions of legislative history that emphasize the cultural

importance of photography of buildings. [Opp. at 21.] But these excerpts support

the Artist’s interpretation—as a reason to avoid going overboard in protecting

architecture via copyright. Again, these comments came within the context of

creating architectural copyrights for the first time. More important, the legislative

history states in no uncertain terms that Section 120(a) applies only to architectural

works and is meant to limit the copyright in those works: “[The AWCPA] creates a

new section 120(a)…, limiting the exclusive rights in architectural works.” [H.R.,

p. 21]. In other words, Section 120(a) simply took back a little of what the

AWCPA gave.

E.    MBZ’s argument that public art is not protected by copyright is wrong.

      If more evidence were needed that MBZ is bending copyright law to suit its

purposes, it is provided by its absurd assertion that “Indeed, placement of art



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within public view is inconsistent with a claim to exclusive ownership.” [Opp. at

21.] This could not possibly be true: Artworks in museums, galleries, and public

square are fully protected by copyright. The lone case MBZ offers in support has

nothing to do with copyright law. Rather, R.MS. Titanic, Inc. v. Haver involved

salvage law, which gives “salvors” certain rights in recovered artifacts, based on

ancient uncodified international law. 171 F.3d 943, 970 (4th Cir. 1999).

F.    Section 120(a) does not exempt MBZ’s use of the Mural.

      Section 120(a) has no application to this case, at least as it is currently pled.

By its plain language, all Section 120(a) provides is that the copyright in a building

(a new concept) shall not prevent photography of that building. It says nothing

about the copyright in PGS works on a building, like the Mural. Accordingly, PGS

works are protected as they always have been.

      The Artists do not contend that “no one… is allowed to photograph a

publicly visible building if graffiti art has been painted on the building.” Under

well-established law, most of such photography (including cityscapes and street

scenes) will qualify as fair uses. MBZ does indeed bring a claim for non-

infringement under the fair use doctrine, and notably, the Artists do not challenge

that claim because it has the virtue of coherence. A court will eventually decide

whether MBZ’s advertising photograph, which appears to feature the Mural as its

centerpiece, constitutes a fair use—but MBZ cannot escape copyright liability



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without an analysis by pretending that all photographs of buildings are permitted.

Because Section 120(a) could not act as a defense, the Court should dismiss

MBZ’s third cause of action.

       IV.   MBZ MAKES A NUMBER OF MISCHARACTERIZATIONS

        The Artists also address the following mischaracterizations by MBZ.

   • MBZ characterizes the Artists as disputing MBZ’s (and the public’s) right to
     photograph the Mural. But what the Artists object to, of course, is the use of
     the Mural in MBZ’s advertising.

   • MBZ takes the Artists to task for making a “non-sequitur” argument:
     “Defendants claim that they are not subject to personal jurisdiction in
     Michigan because ‘they live and work in Los Angeles.’” [Opp. at 6.] But of
     course, the Artists never make such argument.

   • MBZ emphasizes that it “obtained a permit to photograph” and
     photographed only “in the permitted locations.” What MBZ means, but
     might not be readily apparent, is only that it obtained a simple permit from
     the city to do outdoor photography in certain areas. No one would suggest
     this somehow amounted to permission to use the Mural.

   • MBZ alleges that the Artists have demanded $80 million for use of the
     murals. In due course, this will be shown to be false.

Respectfully submitted,

 Dated: May 29, 2019

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2019, I electronically filed the foregoing
DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS UNDER
FRCP 12(b)(1) and (6) with the Clerk of the Court using the ECF system, which will
send notification of such filing to all counsel of record.

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